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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                 CRIMINAL 10-0113CCC
 1) RICARDO BETANCOURT-BALLESTEROS
 2) JOSE RAMON PARRA-BOTERO
 3) WILLIAM GARZON
 4) CARLOS MAESTRE-ASTACIO
 5) MANUEL DE JESUS CEDEÑO-VILORIO
 6) MIGUEL ANGEL BUILES-MEJIA
 7) JOSE GOMEZ-CUBERO
 8) JOSE I. VALENTIN-LOPEZ
 Defendants


                                            ORDER

       Having considered the Report and Recommendation filed on May 24, 2012 (docket
entry 143) on a Rule 11 proceeding of defendant Miguel Angel Builes-Mejía (6) held before
U.S. Magistrate Judge Camille L. Vélez-Rivé on May 22, 2012, to which no objection has
been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is
accepted. The Court FINDS that his plea was voluntary and intelligently entered with
awareness of his rights and the consequences of pleading guilty and contains all elements
of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since May 22, 2012. The sentencing hearing is set for August 29,
2012 at 4:15 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on June 11, 2012.



                                            S/CARMEN CONSUELO CEREZO
                                            United States District Judge
